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                               UNITED STATES DISTRICT COURT

                               FOR THE DISTRICT OF COLUMBIA

 MAGGIE SMITH, et al.,

 On behalf of herself and all others similarly
 situated,

 Plaintiffs,
                                                      Civil Action No.: 15-737 (RCL)
     v.


 GOVERNMENT OF THE DISTRICT OF
 COLUMBIA,

 Defendant.


  CONSENT MOTION BY PLAINTIFFS FOR ENTRY OF AN EXTENDED BRIEFING

                     SCHEDULE FOR THEIR MOTION TO RECONSIDER

          Plaintiffs hereby respectfully move this Court for entry of an extended briefing schedule on

Plaintiffs’ proposed motion to reconsider this Court’s Order [60] on Defendant’s motion [53] to

dismiss Plaintiffs Second Amended Complaint [50], and defendant’s time to file an answer to the

Second Amended Complaint.

          Plaintiffs’ propose the following briefing schedule for their motion to modify or reconsider

the Order [60]:

Plaintiffs’ motion                  Defendant’s response              Plaintiffs’ Reply

August 7, 2019                      August 28, 2019                   September 23, 2019


          The proposed briefing schedule also extends the District’s deadline for filing an answer to

the Second Amended Complaint until on or before 30 days after the Court rules on Plaintiffs’

motion to modify/ reconsider.
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CONSENT SOUGHT AND OBTAINED

        Plaintiffs’ counsel sought defendant’s consent to the relief requested herein pursuant to

LCvR 7(m) and defendant does consent provided this Court extends Defendant’s deadline for

filing an answer until 30 days of the Court’s ruling on Plaintiffs’ motion to reconsider, and

Defendant has 30 days to respond to the motion.

MOTION TIMELY FILED

        This motion is filed before the expiration of the deadline for filing motion to modify/

reconsider the Court’s Order [60].

APPLICABLE LAW SUPPORTS GRANT OF MOTION

        This Court entered an Order [60] on Defendant’s motion [53] to dismiss Plaintiffs’ Second

Amended Complaint [50] granting in part and denying in part the District’s motion. The Order

was an interlocutory order under Rule 54(b) of the Federal Rules of Civil Procedure because it

disposed of fewer than all the claims or the rights and liabilities of fewer than all the parties. Fed.

R. Civ. P. 54(b). Act Now to Stop War & End Racism Coal. v. District of Columbia, 286 F.R.D.

117, 125 (D.D.C. 2012)(subsequent history on other issues); Filebark v. U.S. Dept. of Transp.,

555 F.3d 1009, 1013 (D.C. Cir. 2009).

        Rule 54(b) allows this Court to modify interlocutory orders as justice requires at any time

before the court’s entry of final judgment. Fed. R. Civ. P. 54(b). Harvey v. Mohammed, 841 F.

Supp. 2d 164, 173 (D.D.C. 2012).

        Federal Rule of Civil Procedure 6(b)(1)(B) authorizes the Court to grant plaintiff’s

requested extension providing that “good cause” exists for the extension. Fed. R. Civ. P. 6(b)(1)(B).

Courts have explained that good cause in this context simply “means a valid reason for delay[,]”

Mann v. Castiel, 681 F.3d 368, 375 (D.C. Cir. 2012). Good cause is present here.
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        Plaintiffs’ need additional time to prepare and file a motion to modify/ motion to

reconsider the Court’s Order [60] because of the complexity of the issues raised and because of

plaintiffs’ counsel’s schedule.

        Plaintiff is still researching the issues.

RELIEF REQUESTED

        Plaintiffs hereby respectfully move this Court to enter the proposed order filed herewith

setting forth Plaintiffs’ proposed briefing schedule.

Respectfully submitted,

/s/William Claiborne
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